Case 1:22-cv-00125-AMD-RML Document 40-12 Filed 04/17/23 Page 1 of 3 PageID #: 647




                                    SETTLEMENT STATEMENT
                           NINE EAST 71ST STREET CORPORATION

     SELLER:             LESLIE H. WEXNER

      PURCHASER:         NES, LLC

     DATE:               November 11, 1998


                                     SELLER'S STATEMENT

      PURCHASE PRICE:                                          $20,000,000.00
             (Real Estate -- $19,332,500.00)
             (Personal Property -- $667,500.00}

     ADDITIONS:
             Prorated 1998
             Real Estate Taxes 1            $   12,028.24

      TOTAL ADDITIONS:                                         $    12,028.24

      GROSS AMOUNT                                             $20,012,028.24

      DEDUCTIONS:
             Transfer Taxes             P.O.C.
             (New York State - $270,655.00)
             (New York City - $275,513.13)

             Promissory Note                $10,000,000.00

      TOTAL DEDUCTIONS:                                        $10,000,000.00

      NET DUE SELLER:                                          $10,012,028.24




                                                                   EXHIBIT
                                                                                exhibitsticker.com




                                                                     A
Case 1:22-cv-00125-AMD-RML Document 40-12 Filed 04/17/23 Page 2 of 3 PageID #: 648




           ••            t I                      •         I

                                    ";f=::::l~;$ ·. fr:?(:>~..~]~~-~;~?:~
                                    ..~\ ~-.:~. ~{ (~t ·; :-~;\·..:.. :.;..        ·f/




                                                                                          D~}~~- - s._:,., ... ;:f;
                                                                                                       .;.; ,. . ··r
                                                                                                                       =·
                                                                                                                       :
                                                                                                                                 -~ ~.:.:~_.:::*f(•.:i~·,-:-.
                                                                                           ;:[: ~·~=::;~:::;:;,;;'} ,;, ):'   ~{- -=-s \ '   ::,:;>;~{ {:-f:. -




                                                                                    .?
                                            •).   :,,,,,,;,.".. ~   . . ..., •..
                                                                       ,..,,        (,:
                          Case 1:22-cv-00125-AMD-RML Document 40-12 Filed 04/17/23 Page 3 of 3 PageID #: 649


                          LESLIE H. WEXNER LOAN TO NES, LLC                                            A/C
                          DATED 11/11/98 - DUE 12/31/99@ 4.5%                                          AJC


                DATE       TRANS AMT         PRIN BAL           DUE DATE        DAYS        INT RATE         ACCDINT

                                                                  11-Nov-98
           11-Nov-98        10,000,000.00      10,000,000.00       01-Jan-99       51.00       0.045            62,876.71 PD 3/3/00
·• ... 01-Jan-99                               10,000,000.00      01 -Feb-99       31 .00      0.045            38,219.18 PD 3/3/00
   , : 01.-Feb-99                              10,000,000.00      01-Mar-99        28.00       0.045            34,520.55 PD 3/3/00
      : 01-Mar-99                              10,000,000.00       01-Apr-99       31 .00      0.045            38,219.18 PD 3/3/00
     : . 01-Apr-99                           , 10,000,000.00      01-May-99        30.00       0.045            36,986.30 PD 3/3/00
        . 01-May-99                            10,000,000.00       01-Jun-99       31 .00      0.045            38,219.18 PD 3/3/00
        · 01-Jun-99                            10,000,000.00        01-Jul-99      30.00       0.045            36,986.30 PD 3/3/00
            01!..Jul-99                        10,000,000.00      01-Aug-99        31.00       0.045            38,219.18 PD 3/3/00
           01-Aug-99                           10,000,000.00      01-Sep-99        31.00       0.045            38,219.18 PD 3/3/00
       : 01-Sep-99                             10,000,000.00       01-Oct-99       30.00       0.045            36,986.30 PD 3/3/00
           01-Oct-99                 •.        10,000,000.00      01-Nov-99        31 .00      0.045            38,219.18 PD 3/3/00
          ·01-Nov-99                 ~1      _j0,000,000.00       01-Dec-99        30.00       0.045            36,986.30 PD 3/3/00
       ···0i-Dec-99                            10,000,000.00       01-Jan-00       31.00       0.045            38,219.18 PD 3/3/00
           01-Jan-00               . :,,       10,000,000.00      01-Feb-00        31.00       0.045            38,219.18 PD 3/3/00
           01-Feb-OO                           10,000,000.00      01-Mar-O0        29.00       0.045            35,753.42 PD 3/3/00
         . 01-Mar-00                           10,000,000.00      03-Mar-00         2.00       0.045             2,465.75 PD 3/3/00
           03-Mar-00       (10,000,000.00)              0.00

TOTAL .                   PRIN                10,000,000.00 PD 3/3/00        478.00                            589,315.07
            ;
                          INT                    589,315.07 PD 3/3/00
        .       ;
                          TOTAL               10,589,315;07 NOTE & INTEREST PAID OFF 3/3/00
